                           Case 3:19-cv-02573-EMC Document 740-1 Filed 11/22/21 Page 1 of 3



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                           Teva Pharmaceuticals USA, Inc.
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                       8                                UNITED STATES DISTRICT COURT

                       9                             NORTHERN DISTRICT OF CALIFORNIA

                      10                                      SAN FRANCISCO DIVISION

                      11
                             Staley, et al.,                                    Case No. 3:19-cv-02573-EMC
                      12
                                                        Plaintiffs,
                      13                                                        [PROPOSED] ORDER GRANTING
                             v.                                                 TEVA PHARMACEUTICALS USA,
                      14                                                        INC.’S MOTION TO DISMISS
                             Gilead Sciences, Inc., et al.,
                      15
                                                        Defendants.             Hearing: January 6, 2022
                      16                                                        Time: 1:30 p.m.
                                                                                Courtroom: 5 – 17th Floor
                      17    This Document Relates to:                           Judge: Honorable Edward M. Chen

                      18    CVS Pharmacy, Inc., v. Gilead Sciences, Inc.,
                            No. 3:21-cv-07378-EMC (CVS Action)
                      19

                      20    Walgreen Co., v. Gilead Sciences, Inc.,
                            No. 3:21-cv-07374-EMC (Walgreen Action)
                      21
                                  Having considered the parties’ filings regarding the Motion to Dismiss filed by Teva
                      22
                           Pharmaceuticals USA, Inc. (“Teva”), the Court concludes that class action tolling does not apply
                      23
                           to Plaintiffs’ claims against Teva, and Plaintiffs’ pre-September 22, 2017 claims against Teva are
                      24
                           therefore dismissed with prejudice based on the statute of limitations. The Court hereby
                      25
                           GRANTS Teva Pharmaceuticals USA Inc.’s Motion to Dismiss.
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GOODWIN PROCTER LLP
   ATTORNEYS AT LAW
       BOSTON
                           ORDER GRANTING MOTION TO DISMISS                            3:21-CV-07378 EMC; 3:21-CV-07374-EMC
                           Case 3:19-cv-02573-EMC Document 740-1 Filed 11/22/21 Page 2 of 3



                       1   IT IS SO ORDERED.

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                           Date: _________________                      _____________________________
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                                                                        Judge Edward M. Chen
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       BOSTON
                           ORDER GRANTING MOTION TO DISMISS              3:21-CV-07378 EMC; 3:21-CV-07374-EMC
                           Case 3:19-cv-02573-EMC Document 740-1 Filed 11/22/21 Page 3 of 3



                       1                                    CERTIFICATE OF SERVICE

                       2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

                       3   United States District Court for the Northern District of California by using the CM/ECF system

                       4   on November 22, 2021. I further certify that all participants in the case are registered CM/ECF

                       5   users and that service will be accomplished by the CM/ECF system.

                       6          I certify under penalty of perjury that the foregoing is true and correct. Executed this

                       7   22nd day of November, 2021.

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                                                                                 /s/ Christopher T. Holding
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                                                                                 CHRISTOPHER T. HOLDING
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GOODWIN PROCTER LLP
   ATTORNEYS AT LAW
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       BOSTON
                           ORDER GRANTING MOTION TO DISMISS                              3:21-CV-07378 EMC; 3:21-CV-07374-EMC
